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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


AMERICAN ASSOCIATION OF
UNIVERSITY PROFESSORS,

AMERICAN ASSOCIATION OF
UNIVERSITY PROFESSORS-HARVARD                      Civil Action No. 1:25-cv-10685-WGY
FACULTY CHAPTER,

AMERICAN ASSOCIATION OF
UNIVERSITY PROFESSORS AT NEW
YORK UNIVERSITY,

RUTGERS AMERICAN ASSOCIATION OF
UNIVERSITY PROFESSORS-AMERICAN
FEDERATION OF TEACHERS, and

MIDDLE EAST STUDIES ASSOCIATION,

              Plaintiffs,

       v.

MARCO RUBIO, in his official capacity as
Secretary of State, and the DEPARTMENT
OF STATE,

KRISTI NOEM, in her official capacity as
Secretary of Homeland Security, and the
DEPARTMENT OF HOMELAND
SECURITY,

TODD LYONS, in his official capacity as
Acting Director of U.S. Immigration and
Customs Enforcement,

DONALD J. TRUMP, in his official capacity
as President of the United States, and

UNITED STATES OF AMERICA,

              Defendants.
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              SUPPLEMENTAL DECLARATION OF RAMYA KRISHNAN

       I, Ramya Krishnan, declare as follows:

       1.      I am a licensed attorney in good standing in the state of New York. I appear on

behalf of Plaintiffs in the above-captioned case and have been admitted pro hac vice to this court.

       2.      I submit this declaration in support of Plaintiffs’ motion for a preliminary

injunction, pursuant to Federal Rule of Civil Procedure 65.

       3.      Attached hereto as Exhibit A is a true and correct copy of a transcript of remarks

given by Secretary of State Marco Rubio on March 28, 2025. The transcript is also available at

https://perma.cc/5YPB-GBGX.

       4.      Attached hereto as Exhibit B is a true and correct copy of an interview with

Secretary of State Marco Rubio on Triggered with Don. Jr. on April 8, 2025. The transcript is also

available at https://perma.cc/6RD7-S8DN.

       5.      Attached hereto as Exhibit C is a true and correct copy of a press release from the

Department of Homeland Security titled, “DHS to Begin Screening Aliens’ Social Media Activity

for Antisemitism,” dated April 9, 2025. The press release is also available at

https://perma.cc/ZSM5-X5GE.

       6.      Attached hereto as Exhibit D is a true and correct copy of the NBC News article by

Julia Ainsley titled, “Inside the DHS Task Force Scouring Foreign Students’ Social Media,”

published on April 9, 2025. The article is also available at https://perma.cc/L9NM-BR3C.

       7.      Attached hereto as Exhibit E is a true and correct copy of a memorandum for the

Secretary of Homeland Security written by Secretary of State Marco Rubio with the subject line,

“Notification of Removability Determinations Under Section 237(a)(4)(C) of the Immigration and

Nationality Act (INA),” filed by the Department of Homeland Security Immigration and Customs
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Enforcement on April 9, 2025 in the matter of Mahmoud Khalil in Immigration Court in Louisiana.

The memorandum is also available at https://perma.cc/9URH-XB8J.

        8.     Attached hereto as Exhibit F is a true and correct copy of the Washington Post

article by John Hudson titled, “No evidence linking Tufts student to antisemitism or terrorism,

State Dept. office found,” published on April 13, 2025. The article is also available at

https://perma.cc/KRB2-AVXF.

        9.     Attached hereto as Exhibit G is a true and correct copy of a transcript of an

interview with White House Deputy Chief of Staff Stephen Miller on Fox News on April 14, 2025.

This transcript was generated on rev.com from a video clip of the interview. I have verified that it

is accurate.

        10.    Attached hereto as Exhibit H is a true and correct copy of the New York Times

article by Hamed Aleaziz and Jonah E. Bromwich titled, “U.S. Cites Mideast Peace Process to

Justify Move to Deport Student,” published on April 15, 2025. The article is also available at

https://perma.cc/4BAV-TY2L.

        11.    In accordance with 28 U.S.C. § 1746, I declare under penalty of perjury that the

forgoing is true and correct to the best of my knowledge.



 April 18, 2025                                   Respectfully submitted,

                                                   /s/ Ramya Krishnan
                                                  Ramya Krishnan

                                                  Counsel for Plaintiffs
